           Case 6:22-cv-00541-ADA Document 29 Filed 10/26/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


                                                      )
 IMMERSION CORPORATION,                               )      Case No. 6:22-cv-00541-ADA
                                                      )
                Plaintiff,                            )
                                                      )      JURY TRIAL DEMANDED
          v.                                          )
                                                      )
 META PLATFORMS, INC. f/k/a                           )
 FACEBOOK, INC.,                                      )
                                                      )
                Defendant                             )
                                                      )



                             NOTICE OF AGREED EXTENSIONS

    On behalf of all parties, Plaintiff Immersion Corporation hereby provides notice that the parties
have agreed to extend certain deadlines as set forth in the case Scheduling Order as follows:
    •   The parties’ deadline to exchange proposed terms for construction is reset from October
        26, 2022, to October 31, 2022;
    •   The parties’ deadline to exchange proposed constructions is reset from November 9, 2022,
        to November 11, 2022;
    •   The parties’ deadline to disclose extrinsic evidence is reset from November 16, 2022, to
        November 17, 2022; and
        Subsequent deadlines relating to claim construction remain as set. This adjournment is not
expected to change the date for any hearing, any final submission to the Court related to a hearing,
or the trial.

 Date: October 26, 2022                              Respectfully submitted,


                                                     /s/Stefan Szpajda
                                                     Stefan Szpajda, WA Bar No. 50106
                                                     Cliff Win, CA Bar No. 270517
                                                     Steven Skelley, WA Bar No. 53017


                                                 1
Case 6:22-cv-00541-ADA Document 29 Filed 10/26/22 Page 2 of 3




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                                 Attorneys for Plaintiff Immersion Corporation




                             2
         Case 6:22-cv-00541-ADA Document 29 Filed 10/26/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2022, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system which will send a notice of electronic filing to all

counsel of record.


                                                             /s/Stefan Szpajda
                                                             Stefan Szpajda




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